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                             UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF NEW YORK


John Noakes
                                                ORDER REFERRING CASE TO
                                                MANDATORY MEDIATION PROGRAM
           v.
                                                Case No. 18 -CV- 43

Syracuse University


          Upon due consideration, the Court finds this case is appropriate for referral to the

Mandatory Mediation Program as provided in Section 2.1 of General Order 47 (“the Plan”).

Therefore, IT IS HEREBY ORDERED as follows:

          This case is referred to participation in the Mandatory Mediation Program. The parties

should refer to General Order #47 (“the Plan”). A listing of Mediators, and related information

can be found at www.nynd.uscourts.gov or obtained from the Clerk’s Office; and it is further

          ORDERED, that the deadline for completion of mediation is       September 30, 2019 ;   and it is

further

          ORDERED, that within twenty-eight (28) days of the date of the filing of this Order,

pursuant to Section 5.4 of the Plan, the parties shall confer and select a Mediator, confirm the

Mediator’s availability, confirm that the Mediator does not have a conflict with any of the parties

to the case, identify a date and time for the initial mediation session, and file the stipulation

confirming their selection by completing the online form in CM/ECF “Stipulation Selecting

Mediator”, and it is further

          ORDERED, that no later than seven (7) days before the date of the initial mediation

session, each party shall provide the Mediator with a written Memorandum of Mediation in

accordance with Section 5.6 of the Plan. The Memorandum of Mediation is subject to

confidentiality and SHALL NOT be filed; and it is further

          ORDERED, that the Mediator shall encourage and assist the parties in reaching a

resolution to their dispute, but may not compel or coerce the parties to settle; and it is further

          ORDERED, that pursuant to Section 5.10 of the Plan, information disclosed during the

mediation session shall remain confidential and shall not be made known to any other party or
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this Court, without consent of the disclosing party or parties. The Mediator shall not be called as

a witness, nor may the Mediator’s records be subpoenaed or used as evidence; and it is further

        ORDERED, that within seven (7) days after the close of each mediation session, the

Mediator shall file a report by completing the online form in CM/ECF “Mediation Report”; and

it is further

        ORDERED, that the parties shall compensate the Mediator for services rendered

pursuant to this Order in accordance with Section 5.3 of the Plan; and it is further

        ORDERED, that pursuant to Section 4.1(B) of the Plan, referral of this case to mediation

will not delay or defer other dates established in the Scheduling Order and has no effect on the

progress of the case toward trial, except that any judicial settlement conferences set forth in the

Scheduling Order hereby are adjourned.


DATED: April 25, 2019


                                                      Hon. Andrew T. Baxter
                                                      U.S. Magistrate Judge
